Case 3:24-cv-02311-TSH   Document 57-4   Filed 10/08/24   Page 1 of 3




             EXHIBIT 4
                         Case 3:24-cv-02311-TSH   Document 57-4    Filed 10/08/24   Page 2 of 3

                                                                                                       settings


                                                                                                          
OVERVIEW


PRIORITIES
                                       Region
REGIONS                                San Francisco Bay Area
                                        Home      Regions



              Background
              The San Francisco Bay Area region includes San Francisco, Marin, Contra Costa,
              Alameda, Santa Clara, San Mateo, Sonoma, Napa, and the western half of Solano
              counties. Its Mediterranean-type climate, characterized by mild, wet winters and
              warm, dry summers, supports high biological diversity. The Bay Area is well known as
              the home of a thriving technology industry, wine and dairy industries, as well as a
              robust recreation industry bolstered by the region’s rivers and both bay and coastal
              waterfronts.


              Heat and Fire
              The region is expected to warm by 3–4.5°F by 2050 and between 5.5–8°F by 2100.
              Warming average temperatures, regardless of total precipitation level changes, will
              cause droughts to become longer and more severe and, coupled with development in
              the wildland-urban interface, increased fire risk. Maximum summer temperatures are
              also expected to increase by 3.6–7.4°F by midcentury, and as much as 9°F by the end of
              the century.


              Rain and Snow
              Current year-to-year variability in precipitation is expected to continue, with
              fluctuation between very wet and very dry years. Approximately 60% of the region’s
              water supply is sourced in the Sierra Nevada and Sierra snowmelt provides 40% of the
              annual water to the San Francisco Bay Delta, which is expected to be impacted by
              warming temperatures and changes in precipitation. The Bay Area region’s
              characteristic wet winter will bring more intense and damaging winter storms, and, as
              surface temperatures continue to rise, the historic location of the freezing line in
              mountains will move upslope, causing more storms to fall as rain rather than snow.


              Flood
              The Bay Area will be severely impacted by sea-level rise and, when combined with high
              tides and storms, extreme flooding. By mid-century, the region is projected to see
              between 1.1–1.9 feet of sea-level rise by 2050, and between 3.4 feet and 6.9 feet by
              2100, with the possibility of 10.2 feet under the extreme sea-level rise scenario.
                                   Case 3:24-cv-02311-TSH              Document 57-4    Filed 10/08/24      Page 3 of 3
                     More on this Region

                              San Francisco Bay Area 2021 Climate Adaptation Strategy Workshop
                                                          Summary




                                       Regional Report                                 Climate Resilience Resources
                               in California's Fourth Climate Change
                                                                                                & Case Studies
                                             Assessment
                                                                                        in California’s Adaptation Clearinghouse




                     Regional State Agencies:
                      CA Governor’s Office of the Tribal Advisor


                      CA Native American Heritage Commission


                      CA Coastal Commission


                      Caltrans – District 4


                      CA State Coastal Conservancy


                      CA State Lands Commission - School Lands


                      CA State Lands Commission - Sea Level Rise


                      CA State San Francisco Bay Regional Water Quality Control Board


                      San Francisco Bay Conservation and Development Commission



Back to Top                                        Conditions of Use

Privacy Policy                                     Accessibility

Accessibility Certification                        Disclaimer


Copyright © 2024 State of California
